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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                            Electronically filed September 30, 2022


IN RE DOWNSTREAM ADDICKS AND                       )
BARKER (TEXAS) FLOOD-CONTROL                       )   Master Docket No. 17-9002
RESERVOIRS                                         )
                                                   )   Senior Judge Loren A. Smith
                                                   )
THIS DOCUMENT RELATES TO:                          )
                                                   )
ALL DOWNSTREAM CASES                               )
                                                   )


                       JOINT STATUS REPORT PROPOSING
                    SUMMARY JUDGMENT BRIEFING SCHEDULE

       On September 14, 2022, the Court held a status conference in Milton v. United States,

No. 2021-1131, regarding further proceedings following the Federal Circuit’s June 2, 2022

decision and subsequent mandate. The Court requested that the participants in that case confer

and propose a schedule for filing motions for summary judgment on the previously designated

bellwether claims. On September 28, 2022, the Court re-opened the Sub-Master Docket for the

downstream claims and reappointed Rand P. Nolen, Richard Warren Mithoff, and Jack E.

McGehee as Lead Counsel for Plaintiffs. See ECF No. 253.

       Pursuant to the instructions at the September 14, 2022, status conference, the United

States and Lead Counsel for the Plaintiffs propose the following schedule for summary

judgement briefing on the bellwether claims:

      U.S. Motion for Summary Judgment                     November 18, 2022

      Plaintiffs’ Cross-Motion and Response                January 10, 2023

      U.S. Response/Reply                                  February 9, 2023

      Plaintiffs’ Reply                                    March 11, 2023


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      Oral Argument                             Week of March 27, 2023


Dated: September 30, 2022
                                          Respectfully submitted,

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                                          Environment & Natural Resources Division

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